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                                                                          October 19, 2024
         BY ECF
         Hon. Ann M. Donnelly
         United States District Judge
         Eastern District of New York
         225 Cadman Plaza East
         Brooklyn, New York 11201

                             Re: Maria Ruscelli v. The Department of Education of the City of New York
                                 23-CV-07475-LB
         Dear Judge Donnelly:

                I am an Assistant Corporation Counsel in the Office of Muriel Goode-Trufant, Acting
         Corporation Counsel of the City of New York, and attorney for the Defendant, The Department of
         Education of the City of New York, in the above-referenced action.

                 I write, in accordance with Your Honor’s Individual Rules, to respectfully request a ten
         (10) day extension of time, from October 22, 2024 to November 1, 2024, for Defendant to file its
         opposition to Plaintiff’s Motion for Reconsideration. The date for Plaintiff to file her reply would
         be extended from November 5, 2024, to November 15, 2024. The undersigned attempted to contact
         Plaintiff pro se on October 16, 2024, and October 18, 2024, but was not able to reach her to obtain
         consent. This is Defendant’s first request for an extension of time to respond to Plaintiff’s Motion
         for Reconsideration.

                   I thank the Court for consideration of this request.

                                                                          Respectfully submitted,

                                                                           /s/ Madeleine A. Knutson
                                                                            Madeleine A. Knutson, Esq.
                                                                          Assistant Corporation Counsel
         cc:       Maria Ruscelli (by email and mail)
